Case 1:16-cv-00347-JMS-RLP Document 225 Filed 01/09/18 Page 1 of 2           PageID #:
                                   1867


                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

ATOOI ALOHA, LLC, an Nevada                 )    CIVIL NO. 16-00347 JMS RLP
Limited Liability Company, et al.           )
                                            )    CERTIFICATE OF SERVICE
                     Plaintiffs,            )
                                            )
         vs.                                )
                                            )
ABNER GAURINO, et al.                       )
                                            )
                     Defendants.            )
                                            )

                             CERTIFICATE OF SERVICE

         The undersigned hereby certifies that service of a copy of the foregoing

document was made upon the following parties electronically through CM/ECF:

               DENNIS W. CHONG KEE, ESQ.
               W. KEONI SHULTZ, ESQ.
               CHRISTOPHER T. GOODIN, ESQ.
               Cades Schutte LLP
               1000 Bishop Street, Suite 1200
               Honolulu, Hawaii 96813-4212

               LAWRENCE C. ECOFF, ESQ., Pro Hac Vice
               ALBERTO J. CAMPAIN, ESQ., Pro Hac Vice
               GINNI G. KIM, ESQ., Pro Hac Vice
               Ecoff Campain & Tilles, LLP
               280 S. Beverly Drive, Suite 504
               Beverly Hills, CA 90212
               Attorneys for Plaintiffs

               JOHN R. REMIS, JR., ESQ.
               P.O. Box 38112
               Honolulu, Hawaii 96837
2101660 v2
Case 1:16-cv-00347-JMS-RLP Document 225 Filed 01/09/18 Page 2 of 2        PageID #:
                                   1868


              ROBERT D. EHELER, JR., ESQ
              1003 Bishop Street, Suite 2700
              Honolulu, Hawaii 96813

              Attorneys for Defendants
               ABNER GAURINO, AURORA GAURINO
               and ABIGAIL GAURINO

              CHARLES A. PRICE, ESQ.
              Koshiba Price & Gruebner
              707 Richards Street, Suite 610
              Honolulu, Hawaii 96813

              WILLIAM J. PLUM, ESQ.
              The Plum Law Office, ALC
              700 Bishop Street, Suite 2100
              Honolulu, Hawaii 96813

              Attorneys for Defendants
               APT-320, LLC and INVESTORS
               FUNDING CORPORATION

              THOMAS D. YANO, ESQ.
              4374 Kukui Grove Street, Suite 204
              Lihue, Hawaii 96766

              Attorney for Defendant
               CRISTETA C. OWAN

         DATED: Honolulu, Hawaii; January 9, 2018.



                                          /s/ Francis P. Hogan
                                          WAYNE NASSER
                                          FRANCIS P. HOGAN
                                          Attorneys for Defendants
                                            Fidelity National Title & Escrow of
                                            Hawaii, Inc. and Rommel Guzman

2101660 v2                               2
